  Case 18-31185       Doc 55   Filed 01/10/19 Entered 01/11/19 07:45:02              Desc Main
                                 Document      Page 1 of 2
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:    18-31185
Harlow N. Higenbotham,                        )
                                              )                Chapter: 11
                                              )
                                                              Honorable LaShonda Hunt
                                              )
                                              )
               Debtor(s)                      )
                     Order Granting in Part Motion of Wipaporn Teekhungam
                       and the Parties' Minor Children for Relief from Stay

        This motion coming to be heard on the continued motion of Wipaporn Teekhungam, A.H., a
minor, A.H., a minor, and A.H., a minor, for relief from stay (the "Stay Relief Motion"), due notice
having been served, and the court being advised in the premises after considering the arguments of all
parties in interest at multiple hearing, hereby ORDERS as follows:

   1. Pursuant to the court's oral ruling on January 10, 2019, the Stay Relief Motion is granted in part as
indicated herein, and denied in all other respects.

   2. The automatic stay is modified to allow the state court case known as In re parentage of Wipaporn
Teekhungam, individually and on behalf of [A.N., A.N., and A.N.], case no. 11-D-6475 (Circuit Court
of Cook County), to proceed on all matters relating to the entry or modification of child support orders,
including any resulting appeals, and the determination of any request for sanctions against the debtor.
This court's prior order entered on December 4, 2018 (Dkt. #29), concerning actions taken and
disbursements made by Neil H. Levin, the court-appointed receiver, shall remain in effect. However,
no collection activity on any judgment is allowed against property of the Estate absent prior approval of
the U.S. Bankruptcy Court.

   3. Debtor shall provide adequate protection in the total amount of $2,000,000, in accordance with the
prior court order entered on December 13, 2018 (Dkt. #39). Those funds shall be deposited in the
receiver's IOLTA account and no disbursements made, pending further order of the U.S. Bankruptcy
Court.

  4. Debtor shall also provide as adequate protection life insurance policies in the amount of
$1,000,000 for each of the three minor children (for a total of $3,000,000 in coverage), with proof of
payment of the full annual premium for said policies.

   5. Debtor shall comply with these adequate protection requirements within 30 days of this order, and
file with the court a written status report on compliance by February 19, 2019.

   6. The 14-day stay provided in Rule 4001(a)(3) does not apply to this Order, and the Order is in full
force and effect upon entry.
 Case 18-31185     Doc 55    Filed 01/10/19 Entered 01/11/19 07:45:02     Desc Main
                               Document     Page 2 of 2
                                                  Enter:


                                                           Honorable LaShonda A. Hunt
Dated: January 10, 2019                                    United States Bankruptcy Judge

 Prepared by:
 William J. Factor (6205675)
 Deborah K. Ebner, Of Counsel (6181615)
 Jeffrey K. Paulsen (6300528)
 FACTORLAW
 105 W. Madison Street, Suite 1500
 Chicago, IL 60602
 Tel: (847) 239-7248
 Fax: (847) 574-8233
 Email: wfactor@wfactorlaw.com
 dkebner@deborahebnerlaw.com
 jpaulsen@wfactorlaw.com
